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11condDS(1/15)
                               UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF MISSOURI

  In Re: Interstate Underground Warehouse and Industrial Pa               Bankruptcy Case No.
  Debtor                                                                  21−40834−drd11



 ORDER AND NOTICE CONDITIONALLY APPROVING DISCLOSURE STATEMENT AND SETTING
  HEARING ON MATTERS INCLUDING DISCLOSURE STATEMENT AND PLAN PURSUANT TO
                       PROCEDURE FOR CHAPTER 11 CASE


1. On 1/31/2022 , debtor filed a Chapter 11 plan as well as a disclosure statement. The disclosure statement has been
conditionally approved, and the disclosure and confirmation hearings will be combined. If there are significant
disclosure issues which cannot be resolved before or in the combined hearing, the hearing will be treated as a
disclosure hearing and a separate confirmation hearing will be set.

2. Within 5 days after entry of this order, debtor shall mail the plan, disclosure statement and ballot and this Order to
creditors, equity security holders and other parties in interest pursuant to B.R. 3017(d), and file a certificate of service.
Parties are urged to cooperate to resolve objections to disclosure before the hearing. At the earliest time possible
before the hearing, debtor shall provide, as appropriate, to a single creditor or all creditors, additional information
which is reasonably requested.

3. 3/9/2022 at 10:00 am is fixed for the hearing on final approval of the disclosure statement, (if a written objection
has been timely filed), and for the hearing on confirmation of the plan and related matters at

Telephone Conference − Judge Dow 877−336−1280 and enter Access code 9715711#.

4. 3/4/2022 is the deadline for:

 A. Filing with the Court objections to the disclosure statement or plan confirmation; and

 B. Submitting to counsel for the plan proponent ballots accepting or rejecting the plan referenced above.

IT IS SO ORDERED.

Dated: 1/31/22

                                                    /s/ Dennis R. Dow
                                                    Bankruptcy Judge


ATTORNEY FOR DEBTOR TO SERVE ON ALL CREDITORS AND PARTIES IN INTEREST.
